Case 2:21-cv-02103-CJC-MAR Document 20 Filed 10/20/21 Page 1 of 1 Page ID #:335




  1
  2
  3                                              JS-6

  4
  5
  6
                          UNITED STATES DISTRICT COURT
  7
                         CENTRAL DISTRICT OF CALIFORNIA
  8
  9
 10    MICHAEL DUNN,                              Case No. 2:21-cv-2103-CJC (MAR)
 11                             Petitioner,
 12                      v.                       JUDGMENT
 13    MONTGOMERY,
 14                             Respondent.
 15
 16
 17         Pursuant to the Order Accepting Findings and Recommendation of United
 18   States Magistrate Judge, IT IS HEREBY ADJUDGED that this action is
 19   DISMISSED with prejudice.
 20
 21   Dated: October 20, 2021
 22
                                              HONORABLE CORMAC J. CARNEY
 23
                                              United States District Judge
 24
 25
 26
 27
 28
